     3:11-cv-03290-RM-TSH # 223   Page 1 of 3                                  E-FILED
                                                    Tuesday, 26 June, 2018 09:38:48 AM
                                                          Clerk, U.S. District Court, ILCD

              IN THE UNITED STATES DISTRICT COURT
              FOR THE CENTRAL DISTRICT OF ILLINOIS
                      SPRINGFIELD DIVISION

UNITED STATES OF AMERICA, and    )
THE STATES OF CALIFORNIA,        )
DELAWARE, ILLINOIS, INDIANA,     )
MASSACHUSETTS, MINNESOTA,        )
MONTANA, NEVADA, NEW JERSEY,     )
NORTH CAROLINA, RHODE ISLAND,    )
                                 )
VIRGINIA, ex rel. TRACY SCHUTTE and
MICHAEL YARBERRY,                )
                                 )
     Plaintiffs and Relators,    )
                                 )
     v.                          )
                                 )              NO. 11-3290
SUPERVALU, INC., SUPERVALU       )
HOLDINGS, INC., FF ACQUISITIONS, )
LLC, FOODARAMA, LLC, SHOPPERS    )
FOOD WAREHOUSE CORP.,            )
SUPERVALU PHARMACIES, INC.,      )
ALBERTSON’S LLC, JEWEL OSCO      )
SOUTHWEST LLC, NEW               )
ALBERTSON’S INC., AMERICAN       )
DRUG STORES, LLC, ACME           )
MARKETS, INC., SHAW’S            )
SUPERMARKET, INC., STAR MARKET )
COMPANY. INC., JEWEL FOOD        )
STORES, INC., and AB ACQUISITION )
LLC,                             )
                                 )
     Defendants.                 )
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                                      ORDER

RICHARD MILLS, U.S. District Judge:

      For good cause shown, the Defendants’ motion for leave to file a reply in

support of their motion for limited sanctions for spoliation of evidence [d/e 96] is

GRANTED. The Clerk will docket and file the reply [d/e 96-1]. For good cause

shown, the Relators’ motion for leave to file an exhibit under seal [d/e 162] is

GRANTED. The exhibits have been filed under seal and will be considered in

conjunction with the Relators’ opposition to Defendants’ objections to the

Magistrate Judge’s Order [d/e 143]. For good cause shown, the Relators’ first

motion for leave to file exhibits under seal in connection with their first motion for

summary judgment [d/e 165] is GRANTED. The exhibits have been filed under

seal. The Relators’ motion for leave to file exhibits under seal in connection with

their second motion for partial summary judgment [d/e 170] is GRANTED. The

exhibits have been filed under seal. The Defendants’ motion for leave to file a

memorandum in excess of local rules page limitations in support of their motion for

partial summary judgment as to Medicaid claims [d/e 172] is GRANTED. The

memorandum [d/e 172-1] has been filed. The Relators are granted leave to file a

response that exceeds the allowed 15-page argument section limit by 15 pages. For

good cause shown, the Defendants’ motion for leave to file documents under seal

[d/e 173] is GRANTED. The exhibits [d/e 174] have been filed and shall be
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maintained under seal. The Defendants’ motion for leave to file a memorandum in

excess of local page rule limitations in support of their motion for partial summary

judgment as to Medicare Part D, Tricare and FEP claims [d/e 176] is GRANTED.

The memorandum [d/e 176-1] has been filed. The Relators are granted leave to file

a response that exceeds the allowed 15-page argument section by 20 pages. For

good cause shown, the Defendants’ motion for leave to file documents under seal in

connection with their motions to exclude expert testimony [d/e 181] is GRANTED.

The documents [d/e 182] have been filed and shall be maintained under seal. For

good cause shown, the Relators’ motion for leave to file exhibits under seal in

connection with their response to their motion to exclude expert testimony [d/e 189]

is GRANTED. The documents [d/e 190] have been filed and shall be maintained

under seal. For good cause shown, the Relators’ motion for leave to file exhibits

under seal in connection with their response to Defendants’ motion for partial

summary judgment as to Medicare Part D, Tricare and FEP Claims [d/e 192] is

GRANTED. For good cause shown, the Relators’ motion for leave to file exhibits

under seal in connection with their response to Defendants’ motion for partial

summary judgment as to Medicaid claims [d/e 197] is GRANTED.

ENTER: June 25, 2018
FOR THE COURT:
                                                    /s/ Richard Mills
                                                    Richard Mills
                                                    United States District Judge
